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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                   SAVANNAH DIVISION

ANTONIO D. WOODLEY,                  )
      Movant,                        )
                                     )     Case No. CV413-167
v.                                   )              CR408-315
                                     )
UNITED STATES OF AMERICA,            )
     Respondent.                     )
                                  ORDER

      Let a copy of this Report and Recommendation be served upon counsel

for the parties. Any objections to this Report and Recommendation must be

filed with the Clerk of Court not later than July 12, 2016. The Clerk shall

submit this Report and Recommendation together with any objections to the

Honorable William T. Moore, Jr., United States District Judge, on July13,

2016. Failure to file an objection within the specified time means that this

Report and Recommendation may become the opinion and order of the Court,

Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the

right to appeal the District Court's Order. Thomas v. Arn, 474 U.S. 140

(1985).

      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 28th day of June, 2016.

                                                  UNITED STATES MAGISTRATE ILIDGE
                                                  SOUTHERN DISTRICT OF GEORGIA
